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                                          January 4, 2017


 VIA ECF

 The Honorable Carol B. Amon
 United States District Judge
 United States District Court, Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

                  Re:   Yesh Music, LLC v. Sephora USA, Inc., 1:16-cv-4913
                        January 27, 2017 Pre-motion Conference on Defendant's Motion to
                        Dismiss

 Dear Judge Amon:

         I represent Defendant Sephora USA,Inc.("Defendant" or "Sephora")in the above-
 captioned matter, and write pursuant to the Court's Individual Motion Practices and Rule 2(A)
 regarding the pre-motion conference on Defendant's motion to dismiss, set for January 27,2017
 at 2:00 p.m. in Courtroom l OD South before Your Honor. Sephora respectfully requests that the
 pre-motion conference remain at the same date and time, but that the parties be permitted to
 attend telephonically.

         Although Plaintiff has filed this action in the Eastern District of New York, Sephora and
 its counsel are located in San Francisco, California. As such, personal appearance at the January
 27, 2017 pre-motion conference will require Sephora to incur significant costs for travel,
 accommodations, and its counsel's time. Further, Sephora anticipates undertaking these costs in
 the near future to attend oral argument on its motion to dismiss. As such, we believe the best use
 of Sephora's (and the Court's) resources is to host the January 27, 2017 conference
 telephonically.

                                                   Re e       lly submitted


                                                   Rebecca K. Felsenthal
                                                   Attorneys for Defendant Sephora USA,Inc.
 cc: Richard Garbarini, Esq.
